   Case 2:21-cv-00001-JRG Document 2 Filed 01/03/21 Page 1 of 2 PageID #: 25




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


ERICSSON INC., TELEFONAKTIEBOLAGET
LM ERICSSON, AND ERICSSON AB
                                                             Civil Action No. 2:21cv-1
                 Plaintiff,

         vs.
                                                             JURY TRIAL
SAMSUNG ELECTRONICS CO., LTD., AND
SAMSUNG ELECTRONICS AMERICA, INC.,

                 Defendants.


                  PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiffs Ericsson Inc.,

Telefonaktiebolaget LM Ericsson, and Ericsson AB state that:

         1.      Telefonaktiebolaget LM Ericsson is a publicly traded Swedish corporation that has no

parent corporation. No publicly held company owns more than 10% of its stock.

         2.      Ericsson Inc. is a Delaware corporation that is wholly-owned by Ericsson Holding II

Inc., which is also a Delaware corporation. Ericsson Holding II Inc. is wholly-owned by

Telefonaktiebolaget LM Ericsson.

         3.      Ericsson AB is a wholly-owned subsidiary of Telefonaktiebolaget LM Ericsson.




                                                  1
4837-2047-1253
   Case 2:21-cv-00001-JRG Document 2 Filed 01/03/21 Page 2 of 2 PageID #: 26




Dated: January 3, 2021.                   MCKOOL SMITH, P.C.

                                          /s/ Theodore Stevenson, III
                                          Theodore Stevenson, III, Lead Attorney
                                          Texas State Bar No. 19196650
                                          tstevenson@mckoolsmith.com
                                          Nicholas Mathews
                                          Texas State Bar No. 24085457
                                          nmathews@mckoolsmith.com
                                          MCKOOL SMITH, P.C.
                                          300 Crescent Court, Suite 1500
                                          Dallas, TX 75201
                                          Telephone: (214) 978-4000
                                          Telecopier: (214) 978-4044

                                          Samuel F. Baxter
                                          Texas State Bar No. 01938000
                                          sbaxter@mckoolsmith.com
                                          Jennifer Truelove
                                          Texas State Bar No. 24012906
                                          jtruelove@mckoolsmith.com
                                          MCKOOL SMITH, P.C.
                                          104 E. Houston Street, Suite 300
                                          Marshall, TX 75670
                                          Telephone: (903) 923-9000
                                          Telecopier: (903) 923-9099

                                          ATTORNEYS FOR PLAINTIFFS
                                          ERICSSON INC.,
                                          TELEFONAKTIEBOLAGET LM
                                          ERICSSON, AND ERICSSON AB




4837-2047-1253
